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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 18-cv-61469-BLOOM/Valle


 TRITON II, LLC

           Plaintiff,
 v.

 JOHN RANDAZZO and CAPRICE
 TURNER,

       Defendants.
 ________________________________________/
                    DEFENDANTS’ UNOPPOSED JOINT MOTION
              FOR EXTENSION OF TIME TO FILE A REPLY IN SUPPORT
         OF THEIR MOTIONS TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

           Defendants, John Randazzo (“Randazzo”) and Caprice Turner (“Turner”), hereby file this

 Unopposed Joint Motion for Extension of Time to File a Reply in Support of their respective

 Motions to Dismiss Plaintiff’s Amended Complaint [DE 49 and DE 50], and in support thereof,

 state as follows:

           1.       On November 2, 2018, Randazzo and Turner filed their respective Motions to

 Dismiss Plaintiff’s Amended Complaint. Id.

           2.       Thereafter, on November 19, 2018, Plaintiff filed its Response [DE 53] following

 an unopposed three (3) day extension of time granted by this Court. [DE 52].

           3.       Currently, the Defendants’ Reply briefs are due on November 26, 2018, which is

 the Monday following the Thanksgiving holiday weekend.

           4.       Defendants move for this 7-day extension of time because of the Thanksgiving

 holiday, which includes long-standing family commitments for Defendants’ counsel and travel



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 plans of some of the counsel involved in this matter. In addition, lead counsel for Randazzo is

 attending to medical-related personal issues during this time period.

        5.       Plaintiff’s counsel has indicated that there is no opposition to extending the time

 for Randazzo and Turner to file their respective reply briefs up to and including Monday,

 December 3, 2018.

        6.       Pursuant to Fed. R. Civ. P. 6(b), this Court has the authority to grant the requested

 extension of time for good cause and undersigned counsel respectfully submit that good cause

 exists as set forth above to grant the requested enlargement of time and that the request is made in

 good faith and not for the purposes of undue delay.

        7.       This motion for extension of time is made in good faith and not for the purpose of

 causing undue delay or prejudice.

        8.       A proposed order granting the instant motion is attached hereto as “Exhibit A.”

        WHEREFORE, Defendants, Randazzo and Turner, respectfully request the Court to enter

 an Order granting a seven (7) day extension of time for Defendants to file their Reply briefs in

 Support of their respective Motions to Dismiss Plaintiff’s Amended Complaint up through and

 including December 3, 2018.

             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

        Undersigned counsel hereby certifies that counsel for the Parties have conferred in a good

 faith effort to resolve the issues raised in the motion and Plaintiff’s counsel has advised that it does

 not oppose the requested relief.




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 Dated: November 20, 2018
 Miami, Florida

                                                  Respectfully Submitted,

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                                                  and

                                          By: /s/ Richard J. McIntyre
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                                                  Attorneys for Caprice Turner

                                    CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

 Court via CM/ECF on November 20, 2018. I also certify that the foregoing was served on all

 counsel or parties of record on the attached Service List either via transmission of Notices of

 Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

 parties who are not authorized to receive electronic Notices of Filing.

                                          By: /s/ Catherine J. MacIvor
                                                  Catherine J. MacIvor
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                                          SERVICE LIST
                                       CASE NO. 18-CV-61469

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